                                           Case: 1:15-cv-09028 Document #: 2 Filed: 10/13/15 Page 1 of 1 PageID #:14
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                                                                                                                                                   County of Residence of First Listed Defendant
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       (C)     ettorneys (liinn       Ntnne, AdLlrcss. ontl'lelephua Nunbcr)                                                                       Attorneys (lf Knownl




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 IV. NATURE OF SU                                    (l'lacc an ",Y ' in Onc Brx )nl.v)


 0 [ l0 lnsuance                                          PERSONAL INJI-TRY                           PERSONAL INJURY                   625 Drug Related Seizue                      422 Appeal 28 USC    158           I    375    False Claims Act
 O     120 Marine                                    D     310 Airplare                          E     365 Personal Llury -                 o[ Property 2 I USC 88         1         423 Withdrawal                     tr   400    State Reapportionment
 O     130 Miller Act                                tr    315 Airplane Product                            Product Liability            690 Other                                        28 USC r57                     tr   410    Antitrust
 U     140 Negotiable lnstrumeDt                                  Liability                      E     367 Health Cue/                                                                                                  tr   410    Banks and Banking
 [J    150 Recovery of Ovemayment                B         320 Assault. Libel          &                   Pharmaceutical                                                                                               tr   ,150Commerce
             & Enfbrcement of Judgnrenl                        Slander                                     Personal lnjuy                                                            820 Copyrights                     tr   460 Deportation
 B l5l Medicare          Act                                                                               Product Liabrlity                                                         830 Palent                         tr   470 Racketeer Influenced and
 0 152 Recovery          olDefaulted                              Liability                      E     368 Asbestos Personal                                                         840 Trademark                               Corrupt OrgaDizations
           Student Loans                         E         340 lvlarne                                     Injury Product                                                                                               tr   480 Consumer Credit
           (Excludes Veterans)                   E        345     Mrine    Product                             Liability                                                                                                tr 490 CablerSat TV
 E     153 Recovery of                                            Liabilitv                       PERSONAL PROPERTY                     7   l0   Fair Labor Standards                86r HIA (l395fT)                   tr 850 SecuritieslCommoditiesi
           ofVeteran's Benefits                  tr       350 Motor Vehicle                      tr    370 Other Fraud                           Act                                 862 Black Lung (923)                      Exchange
 0     160 Stockholders' Suits                   tr       355 Motor Vehicle                      tr    371 Truth in Lending             720 Labor,Management                         863 DIwC/DIww (405(s))             tr 890 Other Statutory Actions
 E     190 Other Contract                                      Product Liabiliry                 0     380 Other Personal                   Relations                                864 SSID Title XVI                 D 891 Agricultual Acts
 E     195 Contract Product Liability            E        -i60 Other Personal                              Property Damage              740 Railway Labor Act                        865 RSI (405(c))                   tr 893 Environmental Matters
 lf,   196 Franchise                                             Iryury                          fl    385 Property Damage              751 Family and Medrcal                                                          tr 895 Freedom of Infbrmation
                                                 tr       362 Personal Ir1ury -                            Product Liability                Leave Act                                                                               Acl
                                                                                                                                        790 Other Labor Litigation                                                      tr   896 ArbitratioD
                                                                                                                                        791 Employee Retirement                                                         B    899 Administratiye Procedure
               aDd                                 440 Other Civil Rrghts                              510 Motrons to Vacate                     Llcome Security Act                                                                Act/Revieu' or Appeal of
 B     220   Foreclosre                          tr441 Voting                                              SeDtence                                                                                                                 Agercy Decision
 D     230   Rent Lease & Ejectment              *442 Employment                                       Habeas Corpus:                                                                871   IRS-Third   Pany
 D     240   Torts to Land                       tr443 Housing/                                  E     530 General                                                                         ,O'"F                        HSB[?:*"'
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             Tort Product Liability
             All Other Real Property
                                                       Accommodations
                                                            45   Amer w/Disabilities
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                                                                                                       540 Mandamus & Other
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                                                                 Employment                      O     550 Civil Rights
                                                 tr       446 Amer w/Disabilities                E     555 Prison Condition         E   463 Habeas Corpus -
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                                                                 Other                           O     560 Civil Detainee -                 AIien Detainee
                                                 fl       448 Educatior                                    Conditions of                    (Prisoner Petitiol)
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 VI. CAUSE OF ACTION                                  (Enter U S Civil Statute under which you are filing and
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                                                                                                                                    number and.judge for any associated bankruptcy matter previously adjudicated by ajudge ofthis Court
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              COMPLAINT:                                      UNDER RULE 23, F.R.('v.P                                                                                                       JLiRY     DEMAND: El{es                             tr    No

 rx.       RELATED CASE(S)
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 X. This         CaS€ (check         one   box) ie(              no,               of a previorrly       di..i.."d ,.ti*                E    is a refiling of case number      _                previously dismissed by Judge
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